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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
GAINESVILLE DIVISION

CASE NO, 1:17-cv-30S-MW-GRJ
AUSTIN BROWN,

      Plaintiff,




LAWN ENFORCEMENT AGENCY,
INC, and MICHAEL TROIANO,

      Defendants.


DEFENDANTS'RIEF ON KNTITLKMKNT TO ATTORNEY'S FEES AND
                                    COSTS

      Defendants,    LAWN ENFORCEMENT                 AGENCY, INC. ("LEA") AND

MICHAEL TROIANO          ("Mr,   Troiano") file this Brief on Entitlement to Attorney's

Fees and Costs, pursuant to the Court's Order at Doc. 39, and state as follows:

                                   I - INTROBIJCTION

      LEA and Mr. Troiano will first address why they are entitled to attorney's fees

for several reasons including bad faith on the part of Plaintiff and his counsel, Florida

Statute Section 448.08, a Rule 11 finding by the Court and Offers     of Judgment   made

by LEA and Mr. Troiano. LEA and Mr, Troiano will then address why Plaintiff is

not entitled to attorney's fees for several reasons including not being the prevailing

party, bad faith on the part     of Plaintiff   and his counsel, equitable   estoppel and
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mootness and the result    of the case being       essentially a tie. Also,   if the   Court decides

that Plaintiff is entitled to attorney's    fees, LEA and Mr. Troiano will address why

the amount should be very limited,



 II - WHY      LKA AND MR. TROIANO ARK ENTITLED TO ATTORNEY'S
                                       FEES AND COSTS

       A.      Bad Faith bv Plaintiff and Plaintiff's Counsel


       Courts have found that bad faith on the part         of attorneys or litigants can be the

basis for an award    of attorney's fees     and costs against a losing party.            Kreager v,

Solomon     k Flanagan,   P.A., 775 F. 2d 1541 (11'"Cir, 1985) and Murray v. Playmaker

Servs., LLC, 548 F, Supp, 2d (S,D. Fla. 2008). Bad faith includes actions preceding

and during litigation, Kreager, 775        F. 2d   at 1543. Frivolous claims can also be the

basis for an award of attorney's fees and costs. Id, The Court basically found that

in its Order on Cross-Motions         for Summary Judgment, Doc. 35, that Count II of

Plaintiff's Complaint, the Florida law claims were frivolous and never should have

been brought.     Also, it is quite clear there was bad faith on the part of Plaintiff and

his counsel,    This case did not involve a failure to pay wages, it involved a slightly

late payment     of wages,      and it involved      a very, very small amount           of potential

damages for Plaintiff,    All   of these facts   were known to the Plaintiff and Mr. Massey

when the demand letter was sent several months after the alleged minimum                        wage
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violations, and even more so when the lawsuit was filed, This case was not about

damages, it was all about attorney's fees, especially once LEA and Mr. Troiano hired

counsel as LEA is required to do.



           The instant case began when Plaintiff's counsel sent LEA the demand letter

dated November         15, 2017, that is attached to the Complaint.     That letter says there

was   a.   breach   of both FLSA   and the Florida Minimum     Wage Act but does not ask

for any specific amount       of money.   However, it is pretty clear to the reader that the

most owed to the Plaintiff would be about $ 162,60 for the amount taken from the

Plaintiff s paycheck for the failure to return uniforms,       $ 162.60 is obviously a very

small amount        of money to   sue for in any court. The demand letter suggests pre-suit

mediation at the cost      of LEA and Mr. Troiano,    but that cost would be more than the

alleged amount        owed.    The letter also suggests contacting Plaintiff's       attorney's

office, which Mr. Troiano did when he e-mailed Mr. Massey on November 27, 2017.

Please see the attached e-mail exchange between Mr. Troiano and Mr. Massey where

Mr. Troiano discusses the $ 100 payment that was made to Plaintiff after his final

check and that LEA would like to make the situation right             if more   money is owed.

(Exhibit A).



           The final paycheck was the pay period on January 19, 2017, right after the one

where the deduction for the uniforms was made, Mr. Masseys'esponse                  is,   "I don'
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think   it matters   if   the deduction    reduces the wages below minimum            wage."

However,    as the Court indicated        in its Order on Cross-Motions     for Summary

Judgment, Doc, 35, the $ 100 payment was clearly made long before any notice was

given to LEA and Mr. Troiano about any possible law violation,            and the Florida

Minimum Wage was satisfied on January 19, 2017, so there was clearly no violation

of the Florida Minimum Wage Act or the Florida Constitution when Plaintiff both

gave the alleged notice in November 2017 and then sued in December 2017.



        Also, in one      of the November 27, 2017 e-mails, Mr, Massey indicated         that

Mr, Troiano could contact Plaintiff directly to resolve the matter.       Per a December

27, 2017 and December 28, 2017, e-mail to Mr. Massey from Mr. Troiano after the

lawsuit was filed and served on LEA, Mr. Troiano indicted that he tried to contact

the Plaintiff to resolve the situation three times with no answer and no voice mail set

up, It is clear that Mr, Troiano tried to resolve the matter directly with the Plaintiff

before the lawsuit was filed, but the Plaintiff would not answer or respond.             Mr.

Massey asks that Mr. Troiano pay in the range of $ 4000 to resolve the case. Mr,

Massey knows that LEA will have to hire counsel to defend the case, and later, on

the telephone Mr, Massey tells Mr. Troiano he will settle for $2500, At this point,

Mr. Troiano was in the process of hiring our firm to represent LEA and himself, and

Mr, Troiano told the undersigned          counsel about the offer when he hired us,    I then
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contacted Mr, Massey by e-mail and made a counter offer       of $ 1500. Despite several

requests over several weeks, we did not receive a response to the counteroffer and

were forced to defend the case,



      Despite being told by Mr. Troiano about the $ 100 payment in January 2017,

Mr. Massey ignored the payment in his damages calculation in the Complaint and

Amended    Complaint,   and in both Complaints      states, "even assuming        a belated

payment   of $ 100" which means he never confirmed       with Plaintiff that the payment

was made before making the allegations,      and Mr. Massey never gave proper credit

for the payment in his damages calculations.     Also, on February 28, 2108, after the

Amended    Complaint was filed, the undersigned      counsel brought to Mr. Massey's

attention his failure to consider the required payment    of taxes   in his calculations   of

the amount for minimum     wages under FLSA and The Florida Act. Mr. Massey said

he would look at it, but he never considered this in any    of his later   arguments   made

to the Court. In addition, LEA and Mr, Troiano offered to pay the full amount of

damages stated in Count II   of the   Amended Complaint, $ 195,21, and, in fact, made

such a payment on or about March 1, 2018, and the payment was sent back. Finally,

mediation was a waste    of time.


      It is quite clear from the above that Mr. Troiano and LEA tried early on to

resolve the matter and that the Plaintiff did not answer his telephone or have voice
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mail set up, so Plaintiff was not very interested in receiving any money that he may

have been owed before the lawsuit was filed, It is also quite clear from the above

additional   information   that will be provided later in the Brief that once the lawsuit

was filed and LEA and Mr. Troiano had counsel, Mr, Massey's intention                   was to

generate attorney's fees, and Plaintiff was never in any hurry to receive any money.



       Furthermore,    it is apparent that the Plaintiff was paid his full wages after the

$ 100 payment was made ten days after his normal pay date in January 2017, and that

Plaintiff was not missing any money owed to him when the demand letter was sent

and when the lawsuit was filed.        The only reason Plaintiff is owed money, $ 84.14,

is because the $ 100 payment         which brought him to minimum         wage under both

Florida and Federal law was made a few days outside his normal pay period which

the Court found to violate FLSA. In other words, this case did not involve a. failure

to pay wages, it involved a slightly late payment       of wages,    and it involved a very,

very small amount     of potential   damages for Plaintiff. All   of these facts were   known

to the Plaintiff and Mr. Massey when the demand letter was sent, and even more so

when the lawsuit was filed. Again, this case was not about damages, it was all about

attorney's   fees, especially once LEA and Mr, Troiano hired counsel as LEA is

required to do.
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         As a result    of the above,   the Court should find that Count II of the Complaint

was frivolous and that Plaintiff and Mr. Massey acted in bad faith before and during

the litigation and award attorney's fees and costs to LEA and Mr. Troiano.



         B.     Florida Statute Section 448.08 Provides for Attorney's             Fees and
                Costs to the Prevailing Party in a Wave Claims


         $   448.08, Fla. Stat. (2017), authorizes the award of attorney's fees and costs

to the party that prevails in any claim based upon wages, Minimum wages are wages

under all definitions        of wages   in Florida,   In Florida Statute Chapter 443 which

addresses reemployment            assistance, wages are defined as, "all remuneration     for

employment,       including commissions, bonuses, back pay awards, and the cash value

of all   remuneration       paid in any medium other than cash," $ 443,1217(1), Fla. Stat.

(2017). ( 443.036(45), Fla. Stat. (2017), Definitions, refers to 443.1217(1),Fla, Stat.

(2017). Also, the Florida Supreme Court defines wages under the statute of

limitations     regarding    wages as manual labor vs. office workers and professionals,

and it usually refers to short intervals for payment        of the wages. Broward Builders

Exch.„ Inc. v, Goehrine, 231 So. 2d 513, 514 (Via. 1970), Again, minimum wages

are wages.



         ) 448.110,Fla. Stat. (2017), says      that the aggrieved person who prevails shall

be awarded attorney's          fees, This has been interpreted to mean that only plaintiffs
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who win a case based upon failure to pay the State's minimum              shall be awarded

attorney's fees and costs under that statute and employers who win are not entitled

to them, We disagree that employers can never be awarded attorney's fees when the

Plaintiff loses a minimum wage claim.          ( 448.110, Fla. Stat. (2017) appears   to be a

mandatory    win   of attorney's fees   and costs for Plaintiffs since they would otherwise

likely never be able to find counsel to sue on their behalf for a failure to pay them

minimum      wages. However, $ 448.08, Fla. Stat, (2017), covers all actions for unpaid

wages, and it says that the Court may award attoiney's                fees and costs to the

prevailing party. This is a permissive       award rather than a mandatory     award which

can be given to a plaintiff or a defendant,           and employers     have been awarded

attorney's   fees and costs when prevailing       in wage claims.     Why would the State

legislature intend that employers who prevail in a minirnurn          wage case, which is a

wage case under any definition in Florida, never be allowed an award           of attorney's

fees and costs when they prevail?           The legislature would not, and did not intend

such an interpretation    of $ 448,08, Fla. Stat, (2017),


       The possible award      of attorney's fees    and costs against an einployee when

they bring a wage claim is somewhat            of a check on the filing of frivolous wage

claims by plaintiffs and their attorneys,        It makes no sense that employers would

have the protection    of a possible award of attorney's fees   and costs against a plaintiff
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for the filing of only frivolous wage cases that do not involve minimum                wages,   It

seems that employers would need more protection for claims               of a   failure to pay the

State s minimum      wage, not less, since payment of the minimum           wage is something

that is easy to calculate in most cases. Again, in general, it does not make sense that

employers      can be awarded        attorney's   fees and cost in any wage case except a

minimum      wage case under        ) 448.08, Fla.   Stat. (2017) just because    ) 448.110, Fla.
Stat, (2017) provides for a mandatory             award to prevailing   plaintiffs, Instead, the

attorney's    fees and costs language        in   ) 448.110, Fla,   Stat. (2017) was put there

simply so that the plaintiff in a minimum           wage claim knows they will get attorney's

fees and costs if they win instead of it being only a possibility under $ 448.08, Fla,

Stat. (2017) if they win.



         The attorney's fees language in $ 448.110, Fla. Stat. (2017) was not meant to

exclude an award       of attorney's fees to       employers   who prevail in minimum        wage

cases.       That interpretation     defies common sense and encourages             bad faith and

frivolous lawsuits      since plaintiffs then have nothing to lose when the file such a

claim.



         Not only did LEA and Mr, Troiano prevail in their Motion for Summary

Judgment      as to the Florida minimum           wage claim made, the Court indicated in its

Order on Cross-Motions             for Summary     Judgment,   Doc. 35 that that claim should
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never have been brought because a $ 100 payment made to Plaintiff in January 2017,

which satisfied plaintiff's minimum         wage, was clearly made long before any notice

was given to LEA and Mr. Troiano about any possible minimum wage law violation.

As a result, LEA and Mr. Troiano request that the Court award them attorney's fees

and costs under $      448.08, Fla. Stat. (2017). Also, there is one case in Florida that

essentially allowed an award         of attorney's fees   and costs to a prevailing employer in

a minimum      wage case. Ultimate Makeover Salon               k     Spa, Inc. v. DiFrancesco, 41

So. 3d 335 (O'" DCA 2010). The first complaint that was filed by the employee,

plaintiff, was for failure to pay minimum         wages under $ 448.110, Fla, Stat. (2017).

At a hearing on the plaintiff s motion to amend her complaint, the plaintiff admitted

that the minimum         wage claims were barred by the statute of limitations,              and she

substituted    four claims under $ 448.08, Fla. Stat. (2017). Id at           337. All counts were

again dismissed      based upon the statute       of    limitations     after the employer    filed a

summary       judgment     motion.     Id. The Court discussed that they can award an

employer      attorney's   fees and costs under $ 448,08, Fla, Stat, (2017), when the

employer prevails on a statute         of limitations     defense, and the Court remanded the

case for a possible award of the attorney's fees and costs to the employer. Id, at 337-

338.
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      Both the original complaint in the Ultimate Makeover Salon            k Spa case   filed

under $   448,110, Fla. Stat. (2017), and the amended four count wages complaint

were barred by the statute    of limitations, so it makes   sense that the Court could have

remanded the case for a possible award       of attorney's fees    and cost under $ 448,08,

Fla, Stat, (2017) to the employer even    if the   employer had only prevailed on the first

complaint and no amended complaint was pursued,              There is at least one Eleventh

Circuit Court    of Appeal case     and at least three Florida State cases that found

employers are entitled to an award     of attorney's fees   and costs as the prevailing party

in wage cases under    ( 448.08, Fla.   Stat. (2017) or upheld such an award. Murrav v,

Plavmaker   Servs„LLC, 325 Fed. Appx. 873 (11 Cir, 2009); Laremont v. Absolute

Health Care for Women        of All Ages, P.A. 988 So. 2d 735 (4~ DCA 2008); Sentinel

Enterprises Inc. v. Stankiewicz, 545 So, 2d 288 (3d DCA 1989); and Carpenter v.

Metropolitan Dade County, 472 So. 2d 795 3d DCA 1985). Based upon                   ( 448.08,
Fla, Stat. (2017), the above stated case law and the fact that plaintiff's Florida claim

was frivolous    as previously   stated, LEA and Mr. Troiano request that the Court

award them attorney's    fees and costs as the prevailing party.



      C.        Award of Attornev's Fees and Costs to LEA and Mr. Troiano
                under the Court's Federal Rule of Civil Procedure Rule 11 Power

      Kreager v. Solomon k, Flanagan, P.A., 775 F. 2d 1541 (11'"Cir. 1985), which

is cited above in regard to bad faith actions, also discusses an award          of attorney's

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fees and cost under the Court's Federal Rule of Civil Procedure Rule 11 power. The

bad faith actions   of both Plaintiff   and Plaintiff's   counsel, Mr. Massey, are laid out

above. LEA and Mr, Troiano request that the Court award them attorney's fees and

costs on the Court's initiative for Plaintiff s filing of a completely frivolous Florida

State law claim, for filing a claim for wages that were actually already paid, for filing

a claim for a very small amount of potential damages of which they are entitled to

less than half   of for the FLSA claim     and for clearly pursuing the case for attorney's

fees, especially once LEA and Mr. Troiano retained counsel.



       D.        Offers of Judgment Made bv LKA and Mr. Troiaiio



       Both LEA and Mr. Troiano made Offers of Judgment to the Plaintiff on May

30, 2018, per Federal Rule of Civil Procedure Rule 68 and         $   768.79, Fla Stat. (2017).

Please see attached Exhibit    B, Neither Offer      was accepted by the Plaintiff, and the

Plaintiff will not obtain a judgment more favorable than the unaccepted offers of

$ 2400 and $ 100 since the damages are likely only $ 84.14. As a result, the Plaintiff

must pay the costs incurred by LEA and Mr, Troiano after the offers were made. In

addition, LEA is entitled to attorney's       fees for Plaintiff's failure to accept its Offer

since the judgment obtained by the plaintiff will be at least 25 percent less than the

amount   of the offer.




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       K.     Florida Statute 5 57.041 Taxes Costs Against the Losing Partv

       Plaintiff lost his claim for wages brought based upon $ 448.110, Fla. Stat.

(2017) and the Florida Constitution,       so the Court should     order Plaintiff,   at a

minimum,    to pay for LEA and Mr, Troiano's litigation costs.



III - WHY PLAINTIFF IS NOT ENTITLED TO ATTORNEY'S FEES AND
                                     COSTS

       A.     Plaintiff is Not a Prevailing Partv



       In Ruffa v, Saftpay, Inc., 163 So. 3d 711, 715 (Fla. 3d 2015), the Court found

that the litigation essentially   ended in a tie when the when each party won in part

and lost in part.   The plaintiff sued for two separate breach of contract claims for

alleged unpaid bonuses and each party prevailed        fully on one claim.    Id, In the

instant case, LEA and Mr, Troiano prevailed         completely   on Count II which was

based upon both $    448.110, Fla. Stat. (2017) and the Florida Constitution, so it was

basically two claims in one, and the damages requested in Count II were more than

those requested in the FLSA claim. Also, unlike the Plaintiff in Ruffa, Plaintiff only

partially won his claim for wages under FLSA because his damages claim was for

$ 184.14, and his damages will likely be, at the most, $ 84.14. As a result, Plaintiff

lost two of three claims, lost the larger damages claim and did not fully win the third

claim, so the Court could view this as a tie or even as a loss for Plaintiff. Therefore,




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Plaintiff is not the prevailing party in the case and is not entitled to attorney's fees

or costs.



       B.     Bad Faith bv Plaintiff and Plaintiff's Counsel


       Please see above stated arguments    on pages two (2) through five   (5) and nine

(9)


       C.     Plaintiff and Counsel are Estopped Due to Bad Faith and Frivolous
              Claims


       Equitable   estoppel includes   circumstances   where a court will not grant a

judgment    or other legal relief to a party who has not acted fairly. The purpose of

estoppel is to hopefully prevent the wasting     of court resources by   stopping people

from abusing the legal system by filing frivolous lawsuits,    As previously stated on

pages two (2) through five (5) and nine (9), the Plaintiff and his counsel acted in bad

faith before and during the litigation and filed a frivolous case. Therefore, the Court

can find they are not entitled to any attorney's fees and costs based upon equitable

estoppel.




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       D.        Anv Award of Attornev's      Fees Should be Sienifieantlv Reduced



       If the   Court decides to award attorney's fees to Plaintiff, LEA and Mr, Troiano

ask that the Court base the amount on the very limited success that the Plaintiff

actually attained.    The Court can look at the overall results     of the case   and determine

that the lodestar amount should be reduced       if the   amount is excessive in relation to

the plaintiff's actual success. Popham v. Citv       of Kennesaw, 820 F.2d 1570, 1578-

1579 (11'"Cir, 1987), In the instant case, the two Counts were based upon a common

core of facts, and the Plaintiff had very limited success because he lost the claim for

higher damages, which never should have been filed, and he will very likely be

awarded less than half      of the damages requested in the Count I. An award of $84.14

in damages is very small, is about forty-six percent (46%) of the $ 184,14 requested

as damages       in Count   I and is about forty-three percent (43%) of the $ 195.21

requested as damages in Count       II. As a result, if the Court   awards attorney's fees to

Plaintiff, the Court can reduce the amount by more than half at the very least,



       In addition,    as stated above, the Plaintiff and his counsel knew before the

demand letter was sent and certainly before the litigation was filed that this case did

not involve a failure to pay wages, it involved a slightly late payment of wages, and

it involved a very, very small amount of potential damages for Plaintiff.             This case

was not about damages, it was all about attorney's          fees, especially once LEA and
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Mr. Troiano hired counsel as LEA is required to do, LEA and Mr, Troiano ask that

the Court not reward Plaintiff or his attorney for filing a case that could never have

ended with excellent results for the Plaintiff and that never should have been filed in

the first place.



        Finally, the issue   of damages    was rendered moot on or about March 1, 2018,

when a check for the full amount           of damages requested was dropped off at Mr.

Massey's office. Therefore, attorney's fees that were incurred by Plaintiff after that

date should be removed from any award           of attorney's fees   the Court may award to

Plaintiff,



                                   IV - COXCLVSIOÃ


        LEA and Mr, Troiano are entitled to attorney's              fees for several reasons

including bad faith on the part     of Plaintiff     and his counsel, Florida Statute Section

448.08, a Rule 11 finding by the Court and Offers of Judgment made by LEA and

Mr, Troiano. Plaintiff is not entitled to attorney's fees for several reasons including

Plaintiff not being the prevailing        party, bad faith on the part   of Plaintiff   and his

counsel and equitable estoppel. Also,        if the Court decides that Plaintiff is entitled to

attorney's fees, LEA and Mr. Troiano believe the amount should be very limited due




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to Plaintiff's   very limited   success in the case and the payment   of   damages   to

Plaintiff's counsel made on or about March 1, 2018.



                            CKRTIFICATK OF SKRVICK

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been

furnished by CM/ECF electronic delivery or U,S. Mail Delivery to (and all others

receiving electronic service) Michael Massey, Massey & Duffy, PPL, 855 East

University Ave,, Gainesville, FL 32601, on August 20,     2018.



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                                                Attorneys for Defendants




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From: Mike Troiano [mailto:mil&eNlawnenforcement.corn]
Sent: Thursday, December 28, 2017 9:59 AM
To: 'IVlichael Massey'masseyo352law.corn&
Subject: RE: Lawn Enforcement Agency

Michael

Itried to call him 3 times with no answer,    didn't know was supposed to call you back. I hope you would be fair with
                                               I                 I



me and help settle this. We have a specific letter in our policy that states the uniforms can be deducted from the final
check but didn't know that law doesn't recognize this. It's not fair for us to legitimately lose money when an employee
              I


doesn't hold up his obligation. I know that doesn't matters in the courts eyes. I have never had anything like this ln 25
years if business and it really upsets me to have to pay for something when I'm already losing from lost uniform fees. I
understand your job and appreciated what you do but is there anyway you can help me and lets agrees to the minimal I
have to pay. Please can you be fair and help me with this. Do you need any services that we offer7 Please have the
Christmas spirt. Thanks

Michael Troiano
President
Lawn Enforcement Agency
4802 SW 85th Ave ment.corn
Gainesville, Fl 32608
352-538-4075 cell
352-372-3175 office ext 14
352-336-7877 fax
    mil&e@lawne nfo   rce



    From: Michael Massey [mailto;massev@352law,corn)
    Sent: Wednesday, December 27, 2017 5:02 PM
To: mike &mil&e@lawnenforcement.corn&
Subject: Re: Lawn Enforcement Agency

    The filing fee alone is $ 400.

    sent from Michael Massey's iPad   l
                                          Massey   8&   Duffy PLLc   i
                                                                         352-505-8900 i www,352law.corn   ]   Learn about our   53.5
    Million verdict
                                                             DEFENDANT'S
                                                               EXHIBIT
                     Case 1:17-cv-00305-MW-GRJ Document 41 Filed 08/20/18 Page 19 of 26



Mike Tt'oiano

From:                                       Michael Massey &massey@352law.corn&
Sent;                                       Wednesday, December 27, 20'l7 5:02 PM
To:                                         mike
Subject:                                    Re: Lawn Enforcement Agency



The filing fee alone is $400.

sent from Mfchael Massey's IPad             )
                                                Massey       5 Duffy   PLLc   )   352-505-8900 www.352law.corn
                                                                                                )                  )   Learn about our   93.5
Million verdict

On Dec 27,      2017, at 4:30 PM, mike &rnikeglawnenforcement,corn&                        wrote:

           400.007




           Mike Troiano
           Lawn Enforcement Agency, inc
           352-372-3275 office
                 lasrneniorcemenr.corn
           352-538-4075  cell
           ~millie



           ---- Onginal   message         ---—
           Frorn: Michael Massey c~as~evan352Iass.com)
           Date: 12/27/17 2:24 PM (GMT-05:00)
           To: mike &mike(RIawnenforcemeni,.com&
           Subject: Re. Lawn Enforcement Agency

           We'd want ful! payment of the fees, casts and clients claim ta date - which would roughly be 4,000 total
           without doing the exact math. If that range is acceptable let me know and!'ll put together the specifics,

           Sent from Michael IViassey's iPad             )   Massey S. Duffy PLLC      )
                                                                                           352-505-8900 ) www.352law.cpm    )   Learn
           about our         3,5 Million verdict

           On Dec     27, 2017, at 1,40 PM, mike             &~mike    Iawnenforcement,corn)        wrote:

                      I'rn willing   to settle this please let me know what it w! II take to settle please




                      Mike Troiano
                      Lawn Enforcement          Agency, Inc
                      352-372-3275 office
                      352-538-4075 cell
                      mike@lawnenforcement,corn

                      ----- Original     message-----
                 Case 1:17-cv-00305-MW-GRJ Document 41 Filed 08/20/18 Page 20 of 26



Mike Troiano

From;                                    Michael Massey &massey@352law.corn &
Sent:                                    Wednesday, December 27, 2017 2:25 PM
To:                                      mike
Subject:                                 Re.'Lawn Enforcement Agency



We'd want full payment of the fees, costs and clients claim to date - which would roughly be 4,000 total without doing
the exact math. If that range is acceptable let me know and I'l put together the specifics,

sent fram ivIIchaeI Massey's iPad        i   Massey & Duffy PLLc      i
                                                                          352-505-8900 ] www352Iaw.corn       I   Learn about our      53.5
Million verdict

On Dec 27,     2017, at 1:40 PM, mike (mlke@Iawnenforcement.corn&                   wrote:

           I'm willing   to settle this please let me   I&now   what it will take to settle please




           Mike Traiano
           Lawn Enforcement       Agency, Inc
           352-372-3275 office
           352-538-4075 cell
           ~i~elf fawnenfnrcement.cern

           ----- Original message----
           Fram. Michael Massey &~masse    352law.cern&
           Date'2/27/17 11 16 AM (GMT-05 00)
           To: Mike Troiano &mlke@lawnenforcement.corn&
           Subject; Re. Lawn Enforcement Agency

           Hello, any prior offers we have ta settle are withdrawn.           Please direct all future communication       regarding
           this case to myself instead af my client,

           Sent from Michael IVIassey's iPad       i
                                                       Iviassey & Duffy PLLC    I
                                                                                    352-505-8900 www.352iaw.corn
                                                                                                f                      I   Learn
           about our 53.5 Million verdict

           On Dec 27,     2017, at 7:36 AM, Mike Troiano (mil&e@lawnenforcement.corn&                wrote:

                    Michael

                    Ireceived your lawsuit on behalf of Austin Brown. I have tried to contact him but his
                    phone has no voicemail and he hasn't called me back. am happy to pay the balance
                                                                                       I



                    but how can I without the ability to contact him. Please let me know what I need to do
                    to close this action out.

                    Mike Trolano


                    From: Mike Troiano Lmailto:mike             lawnenforcement,cam]
                    Sent: Monday, November 27, 2017 8:06 PM
Case 1:17-cv-00305-MW-GRJ Document 41 Filed 08/20/18 Page 21 of 26

 Ta: 'Michael Massey'massey@352Iaw.corn&
 Subject: RE. Lawn Enforcement Agency

 Thanks,   i   will   research and email you back with haw we are proceeding.   Thanks again
 for you time.

 Mike


 From: Mlchael Massey lmailto;ma~ass         fo252law.corn]
 Sent: Monday, November 27, 2017 8:04 PM
 Ta: Mike Troiano &mlkeglawnenforcernent.corn&
 Subject: Re: Lawn Enforcement Agency

 ! don't think it matters if the deduction reduces the wages below minimum wage.

 Sent from Michael Massey's iPad ) Massey gt Duffy PLLC ) 352-505-
 2000 i www.252law.com     Learn about ou~r5.5 Million verdict
                                 )




 On Nov 27,      2017, at 7:48 PM, Mike Troiano   &~mil&e   lawnenfarcement.corn)   wrote:

           ThankslVIichaeI

           We only charge employees if they don't return there uniforms or other
           items that are issued to the employee that are spelled out in our
           company policy book that they sign. also have documentation that we
                                                    I



           applied a 100,00 payment on his paycard after his final check. He must
           not have returned something that belongs to us and that's why we only
           paid him the 100 and not 162 guess he didn't tell you that7 I would
                                              I


           be interested in your opinion on this issue, Thanks and sorry to waste
           your time on this but it might be helpful.

           Mike



           Fram; Michael Massey Imaiito:massev@352law.corn]
           Sent: Monday, November 27, 2017 7:37 PM
           To: Mike Trolano &~mike iawnenforcement.corn&
           Subject; Re: Lawn Enforcement Agency

           Thanks for your message. If you look at his last paycheck there's a
           uniform charge for $ 162 approximately. That's what violates the FLSA.
           Please look into that if possible and reimbursing him for that. That'
           what I recall being the issue without the benefit of the whole file in
           front of me, so there might be something else but I think that's the
           problem. If you decide ta do that just contact him directly and I won'
           tal&e a fee or anything from it or from this case....you can just pay it
           directly to him. Tell him to contact me if you do so I know about it
           please,

           Sent from Michael Massey's Ipad [ Massey gt Duffy PLLC I 352-505-
           0000 f www202law.corn     Learn ebon~cour 5.5 Miilion verdict
                                         i
Case 1:17-cv-00305-MW-GRJ Document 41 Filed 08/20/18 Page 22 of 26


      On Nov    2?, 201?, at 7:29 PM, Mike Troiano
      &~mrlce   lewnenrorcement.corn&      wrote

                Michael

                l received your letter regarding Austin L Brown and
                would like a call or reply regarding this it. i do not know
                why you are requesting or writing me this letter as we
                have 100% paid Mr. Brown full wages and don'
                understand what he ls stating. Please advise on your
                clients position so we can close out this.

                You can call me anytime.


                Michael Troiano
                President
                Lawn Enforcement Agency
                4802 SW 85th Ave
                Gainesville, Fl 32608
                352-538-4075 cel!
                352-372-3175 office ext 14
                352-336i 7877 fax
                mike@iawnenforcement       corn

                (imageoOi.jpg)

                PLEASE ViSIT OtjR NEW WEB SiTE @
                www.lawnenforcement.corn



                Lawn Enforcement     Agency, inc, has been serving central
                North Florida since 1991.We offer a wide range of
                services, from routine lawn maintenance to pest control
                programs, landscape, hardscape, irrigation, seasonal
                color, and more, We employ only the most professtonal,
                highly skilled personnel in each of our departments, We
                are dedicated to providing the highest quality products,
                best valued products, and services available today.
     Case 1:17-cv-00305-MW-GRJ Document 41 Filed 08/20/18 Page 23 of 26




                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF FLORIDA
                                       GAINESVILLB DIVISION

                                                                          CASE NO, 1:17-cv-305-M%'-GRJ
AUSTIN BROWN,

        Plaintiff,

V,


LA%N ENFORCEMENT AGENCY,
INC, and MICHAEL TROIANO,

        Defendants,




      DRFKNDANT, LA%N ENI&'ORCEMENT AGENCY, INC,~S, PROPOSAL FOR
                           SETTLEMENT             1'A/IGA   OFFER OF JUDCMKNT)

        Defendant,       LA%N BNPORCBIVKNT AGENCY INC, ("LBA"), by and through the

undersigned      counsel and pui'suant to Rule 68„ I'elect Rules         of Civil I'rocedui   e, $   768.79,E/onda

8iaiutes, and the Local Rules, hereby serves this Proposal for Settlement (a/lo'a Offer               of Judgment)

on Plaintiff, AUSTIN BRO%N, the terms and conditions of which are as follows:

         1,          LEA shall pay Plaintiff a total sum of TWO THOUSAND POUR HUNDRED U,S.

Dollars ($2,400,00) as a full and anal settlement           and satisfaction   of all of the claims   and causes   of

action Plaintiff has filed in tlus lawsuit.

                     The moiiies that LEA offers to pay to Plaintiff set forth in paragraph             one   (1) are

inclusive     of a11 Plaintiff's damages, liquidated damages, interest, costs      and   attorneys'ees claiDiedin

this lawsuit,    Attorneys'ees      are part of Plaintift's legal claims against LEA in this lawsuit.

         3,          No pox%ion   of the   monies that LEA offer to pay Plaintiff set forth in paragraph one (1)

 is offered to settle a claim for punitive damages.          At this point, n.o claim for puietive damages has

 been made,



                                                       EX BIT
      Case 1:17-cv-00305-MW-GRJ Document 41 Filed 08/20/18 Page 24 of 26



       4.      Pollowing receipt and clearance of the settlement funds, Plaintiff shall file a Notice    of

Voluntary Dismissal with Prejudice regarding LEA in this lawsuit,

       5,      Pursuant to the Federal Rules   of Civil   I'rocedur e and $ 768.79, Florida Statelier, this

Proposal for Settlement is not being filed with the Court.

                                  CERTIFICATE OIl SF,RVICF,

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

CM/BCP electronic delivery, e-mail or U.S, Mail Delivery to (and all others receiving electronic

service) Michael Massey, Massey        k   Duffy, PPL, 855 East University         Ave„Gainesville,     PL

32601, on May 30, 2018,


                                                          JUljfkTTE KOVES, ESQ.
                                                          Fl&%~daBar Number 963453
                                                           Ikoves@ds1clawe'our,corn
                                                          Rubern Laboy, Jr,
                                                          Florida Bar Number 850381
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                                                          de Beanbien, Simmons, Knight
                                                          Mantzaris k Neal, LLP
                                                          332 Noi&h Magnoha Aventie
                                                          Post Office Box 87
                                                          Orlando, Florida 32802-0087
                                                           Telephone', (407) 422-2454
                                                           Facsimile: (407} 849-1845
                                                           Attorneys for. Defendants
      Case 1:17-cv-00305-MW-GRJ Document 41 Filed 08/20/18 Page 25 of 26



                                    UNITED STATBS DISTRICT COURT
                                    NORTHERN DISTRICT OP FLORIDA
                                        GAINESVILLB DIVISION

                                                                            CASK NO,           I; I7-cv-305-MW-GIU
AUSTIN BROWN,

        Plaintiff,




LAWN BNPORCBMENT AGENCY,
INC. and MICHAEL TROIANO,

         Defendants.




   OII'KNOUT, MICHAKL TROIANO'S, PROPOSAL FOR SKTTLKMKNT                                                    (AfK/A
                                          OF(I(E&R OP   JUDGMENT)

         Defendant,      MICHAEL TROIANO ("Mr, Troiano"), by and through                              the undersigned

counsel and pursuant to Rule 68, Federal Rules          of Civr'l Procedure,          $   768.79, Florkfa Statutes, and

the Local Rules, hereby serves this Proposal for Settlement (a/k/a Offer                    of 3udynent)   on Plaintiff,

AUSTIN BROWN, the terms and conditions of which                  ajar   as follows;

         l,          Mr. Troiano shall pay Plaintiff a total sum of ONB HUNDRHD                            U,S, Dollars

($ 100,00) as a full and final settlement. and satisfaction of all of the claims and causes of action

PlaintiK has Med in this lawsuit,

         2.          The monies that Mr, Troiano offers to pay to Plaintiff set forth in paragraph one                (l)
are inclusive   of all PlaintiK's   damages, liquidated damages, interest, costs and attorneys'ees              clanned

in this lawsuit,     Attorneys'ees    are pajt of Plaintiff's legal clainm against Mr. Troiano in. this lawsuit.

         3.          No portion of the monies that Mr. Troiano offer to pay Plaintiff set forth in paragraph

one   (I) is offered to settle a claim   for punitive dwnages,    At this point, no claim for punitive darnagcs

has been made,
     Case 1:17-cv-00305-MW-GRJ Document 41 Filed 08/20/18 Page 26 of 26



       4,      I'ollowing receipt and clearance of the settlement, funds, Plaintiff shall file a Notice of

Voluntary Dismissal with Prejudice regarding Mr, Troiano in this lawsuit,

       5.      Pursuant to the Federal Rules   of Civil Procedure   and $   768.79, FloI ida 8fatutes, this

Proposal for Settlement is not being filed with the Couit.

                                  CKRTIFICATE         OF&   SKRVlCK

       I HEREBY CERTIFY that a true         and correct copy   of the foregoing has been furnished by

CMIHCF electronic delivery, e-mail or      U.S. Mail Delivery to (and    all others receiving electronic

service) Michael Massey, Massey        k   Duffy, PPL, 855 East University        Ave., Gainesville,    I'L

32601, on May 30, 2018.


                                                        JU      TTE IZOVES, BSQ.
                                                            rida Bar Number 963453
                                                        i mvesMsklawgrour&.corn
                                                        Rubern Laboy, Jr,
                                                        Florida Bar Number 850381
                                                        RI,aboyQdsldavrgroup,corn
                                                        de Beaubien, Simmons, liight
                                                        Mantzaris 4, Neal, LJ,P
                                                         332 North Magnolia Avenue
                                                        Post ONce Box 87
                                                         Orlando, I" lorida 32802-0087
                                                         Telephone. (407) 422-2454
                                                         Pacsimile; (407) 849-1845
                                                         Attorneys for Defendants
